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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 United States of America,
                      Plaintiff,


                      vs.                             Case No. 07-10143-03-JTM


 Clinton A.D. Knight,
                      Defendant.




                             MEMORANDUM AND ORDER



       This matter is before the court on defendant Clinton Knight’s Motion for Temporary

Interruption of Sentence. (Dkt. 701). Knight is currently in the custody of the Bureau of

Prisons (BOP). “Congress has given the BOP—not the courts—the authority to temporarily

release a federal prisoner.” Bania v. Federal Bureau of Prisons, Civil No. 10–2212 SRN/FLN,

2011 WL 882096 at *4 (D.Minn. Feb. 24, 2011). Specifically, 18 U.S.C. § 3622 authorizes the

BOP(a) to temporarily release a prisoner under six specific conditions, none of which is

applicable here.

       As a result of this statutory direction, the court is without jurisdiction to grant the

relief sought. See United States v. Reed, No. 01–CR–20062, 2008 WL 4822045 (C.D.Ill. Oct. 28,

2008) (the court “does not have jurisdiction to grant a temporary interruption of sentence
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and that power remains exclusively with the Bureau of Prisons”); United States v. Greer, No.

03–CR–194, 2010 WL 3279335 at * 1 (E.D.Wis. Aug. 19, 2010) (“the BOP may release a

prisoner for specified purposes, including to visit dying relatives or attend funerals, but

nothing in that statute appears to confer similar power on the sentencing court”).

       IT IS ACCORDINGLY ORDERED this 19th day of May, 2016 that the defendant’s

Motion for Interruption (Dkt. 701) is denied.




                                                 ___s/ J. Thomas Marten______
                                                 J. THOMAS MARTEN, JUDGE
